                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE


BOBBY PORTER,                                     )
                                                  )
              Petitioner,                         )
                                                  )
v.                                                )   Nos. 2:09-cr-31; 2:11-cv-311-RLJ-DHI
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
              Respondent.                         )


                                        JUDGMENT



        In accordance with the accompanying memorandum op1mon, this federal

prisoner's prose motion to vacate, set aside or correct a sentence pursuant to 28 U.S.C.

§ 2255 is DENIED (Doc. 1017), and this case is DISMISSED. Likewise DENIED is

the issuance of a certificate of appealability.



        IT IS SO ORDERED.

        ENTER:




                                                     LEO ORDAN
                                             UNITED STATES DISTRICT JUDGE



ENTERED AS A JUDGMENT
   s/ Debra C. Poplin
   CLERK OF COURT



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